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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

   Stanley Ligas, et al.,                  )
                                           )
                       Plaintiffs,         )
                                           )      Case No. 05 C 4331
       v.                                  )
                                           )      Judge Sharon Johnson Coleman
   Theresa Eagleson, et al.,               )
                                           )      Magistrate Judge Jeffrey Cole
                       Defendants.         )

TO: All Counsel of Record

       PLEASE TAKE NOTICE that on December 6, 2023 at 10:00 a.m., we shall appear
before Honorable Sharon Johnson Coleman, or any other judge sitting in her stead, in Room
1241 of the Everett McKinley Dirksen United States Courthouse located at 219 S. Dearborn St.,
Chicago, Illinois 60604, to present the concurrently filed DEFENDANTS’ UNOPPOSED
MOTION FOR LEAVE TO FILE AN OVERSIZED BRIEF, a copy of which has been served
upon you via the Court’s CM/ECF system.

DATE: December 1, 2023
                                                  Respectfully submitted,

                                                  KWAME RAOUL
                                                  Attorney General for the State of Illinois

                                                  By: /s/ Brent D. Stratton
                                                  Brent D. Stratton
                                                  Karyn L. Bass Ehler
                                                  Office of the Illinois Attorney General
                                                  100 W. Randolph St., 12th Floor
                                                  Chicago, IL 60601
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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney of record, hereby certifies that on, December 1, 2023, he

caused to be filed through the Court’s CM/ECT system a Copy of Notice of Motion for the

Defendants’ Unopposed Motion for Leave to File an Oversized Brief. Parties of record may

obtain a copy of this filing through the Court’s CM/ECF system.


                                           /s/ Brent D. Stratton
                                           Assistant Attorney General
